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                                EXHIBIT 4
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

   AMAZON.COM, INC. and AMAZON
   DATA SERVICES, INC.,
                Plaintiffs,
         v.
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN
   WATSON; STERLING NCP FF, LLC;
   MANASSAS NCP FF, LLC; NSIPI
   ADMINISTRATIVE MANAGER; NOVA
   WPC LLC; WHITE PEAKS CAPITAL LLC;
   VILLANOVA TRUST; CASEY
   KIRSCHNER; ALLCORE DEVELOPMENT
   LLC; FINBRIT HOLDINGS LLC;                      CASE NO. 1:20-CV-484-RDA-TCB
   CHESHIRE VENTURES LLC; CARLETON
   NELSON; JOHN DOES 1-20,

                Defendants.

   800 HOYT LLC,
                Intervening Interpleader
                Plaintiff / Intervening
                Interpleader Counter-
                Defendant,
         v.
   BRIAN WATSON; WDC HOLDINGS, LLC;
   BW HOLDINGS; LLC,
                Interpleader Defendants,
         and
   AMAZON.COM, INC., and AMAZON
   DATA SERVICES, INC.,

                Interpleader Defendants /
                Interpleader Counter-Plaintiffs.

               AMAZON.COM, INC. AND AMAZON DATA SERVICES, INC.’S
                     SUPPLEMENTED INITIAL DISCLOSURES
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          Pursuant to Rule 26 of the Federal Rules of Civil Procedure and the Local Rules of this

   Court, Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (collectively, “Amazon”), by

   and through their undersigned attorneys, hereby supplement their initial disclosures in this action,

   as follows.

          Pursuant to Rule 26(a)(1)(A)(iii), Amazon intends to seek compensatory damages as well

   as restitution and disgorgement of all earnings, profits, compensation, and all other ill-gotten gains

   obtained by Defendants based on their illegal conduct (collectively, referred to as “unjust

   enrichment”), as well as pre- and post-judgment interest, attorneys’ fees, and a permanent

   injunction. Amazon sets forth below its current computation of each category of damages and

   unjust enrichment it may seek to recover. Amazon notes that discovery is in its early stages, and

   it will modify and/or supplement its damages disclosures in accordance with the Federal Rules of

   Civil Procedure. Amazon will further identify its final calculations of the amounts it seeks to

   recover as damages and unjust enrichment, and the basis for those calculations, in its damages

   expert disclosure(s), which will be made in accordance with the schedule set by the Court.

   Similarly, Amazon anticipates that discovery will clarify the extent to which these categories of

   harm may overlap with each other, so as to enable Amazon to identify and account for any such

   overlap prior to electing remedies.

                Damages:    Amazon currently calculates its damages as at least approximately

                 $27,700,000, which includes (a) the $10,000,000 assignment fee attributable to the

                 Blueridge transaction (approximately $5,000,000 of this amount that was paid in

                 kickbacks to Defendants Nelson and Kirschner may also be recovered as unjust

                 enrichment, as noted below); and (b) the approximately $17,700,000 difference

                 between the NOVA WPC LLC $98.67 million purchase price and Amazon’s




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             subsequent $116.4 million purchase price attributable to the White Peaks transaction

             (the approximately $5,000,000 of this amount that was paid in kickbacks to Defendant

             Watson and the approximately $1,000,000 of this amount that was paid in kickbacks to

             Defendants Nelson and Kirschner may also be recovered as unjust enrichment, as noted

             below).   Amazon notes that its initial calculation of damages included damages

             attributable to inflated rents and fees it had agreed to pay lessors that were controlled

             by certain of the Defendants at the time the leases were negotiated, including, without

             limitation, the leases (the “Leases”) with Dulles NCP LLC, Quail Ridge NCP LLC,

             Manassas NCP LLC, and Dulles NCP II LLC (collectively the “Lease Damages”).

             Amazon has now been able negotiate amendments to the Leases, which has mitigated,

             but not completely eliminated, these Lease Damages.

            Unjust enrichment: Amazon currently calculates its unjust enrichment recovery as at

             least approximately $75,063,163. This unjust enrichment amount includes payments

             and kickbacks that Defendants and their co-conspirators appear to have received as a

             result of the Blueridge and White Peaks transactions and the Leases, all of which

             Defendants and their co-conspirators fraudulently induced Amazon to enter. Amazon’s

             current unjust enrichment calculation includes the following:

             o Approximately $5,000,000 in kickbacks paid to Defendants Nelson and Kirschner

                attributable to the Blueridge transaction, which were funded by the $10,000,000

                assignment fee paid by Amazon to Blueridge and included above in Amazon’s

                Damages computation;

             o Approximately $17,700,000, which is the difference between the NOVA WPC

                LLC purchase price and Amazon’s subsequent purchase price attributable to the




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                  White Peaks transaction included in Amazon’s computation of Damages above,

                  and which funded approximately $5,000,000 in kickbacks to Defendant Watson

                  and approximately $1,000,000 in kickbacks to Defendants Nelson and Kirschner;

              o Kickbacks as set forth in the spreadsheet at SAC Ex. 10 (Dkt. 155-10), up to

                  $37,100,000, which includes approximately $5,120,000 in kickbacks attributable

                  to the Leases paid to Defendants Nelson and Kirschner by Defendants Watson and

                  WDC Holdings via the Villanova Trust; and

              o All fees received by the Watson and WDC Defendants from the Lessors, in an

                  amount of at least $15,263,163, which includes approximately $5,120,000 in

                  kickbacks attributable to the Leases paid to Defendants Nelson and Kirschner by

                  Defendants Watson and WDC Holdings via the Villanova Trust.

   Amazon reserves all rights to seek other relief, either in these categories or otherwise, that is based

   on information identified through discovery or that the Court deems necessary and proper.

   Amazon intends to seek treble damages on all claims for which it is entitled to recover them, and

   the above computations do not include trebling.

          Amazon identifies below the documents on which the above computations are based.

   Damages

             Dkt. 160-7 through 160-10 (White Peaks purchase agreements)

                              email from                to              referring to

                             (to be produced)

             May 6, 2019 draft of Blueridge purchase agreement sent by E. Hoy (to be produced)

             Dkt. 212-11 (Blueridge Assignment and Assumption Agreement)




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   Unjust Enrichment

             Dkt. 160-7 through 160-10 (White Peaks purchase agreements)

                              email from              to            referring to

                             (to be produced)

             May 6, 2019 draft of Blueridge purchase agreement sent by E. Hoy (to be produced)

             Dkt. 212-11 (Blueridge Assignment and Assumption Agreement)

             Finder’s Fee Agreement between Blueridge and Finbrit Holdings, LLC dated May 15,

              2019 (to be produced)

             Wire transfer from Blueridge to 2010 Irrevocable Trust dated December 24, 2019 (to

              be produced)

             Wire instructions for 2010 Irrevocable Trust identifying Rodney C. Atherton as

              Trustee of 2010 Irrevocable Trust at First Western Trust (to be produced)

             Dkt. 155-10 (SAC Ex. 10) (C. Kirschner Recycle Bin spreadsheet)

             Dkt 156-1 (SAC Ex. 11) (Villanova Trust payments spreadsheet)

             Dkt. 163-4 (K. Ramstetter / W. Camenson / WDC settlement agreement)

             Dkt. 42-2 (Transcript of conversation between B. Watson, K. Ramstetter, and W.

              Camenson)

             Documents supporting computation of fees paid by landlord entities or IPI to WDC

              (to be produced)

             Bank records produced by Receiver (to be produced)


   Dated: January 21, 2022               By,

                                         s/ Michael R. Dziuban
                                         Elizabeth P. Papez (pro hac vice)
                                         Patrick F. Stokes (pro hac vice)


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 21, 2022, I will email or mail via U.S. mail the foregoing

   to the following parties:

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